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                             IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                       CHARLOTTE DIVISION
IN RE:

      TIMOTHY DALE COLLINS FDBA FINANCE                                            19-30658
      MOTORS, LLC FDBA TAD ENTERPRISES,                                           CHAPTER 7
      INC. FDBA STORAGE EXPRESS, LLC
      DEBTOR(S)

                         MOTION FOR RELIEF FROM THE AUTOMATIC
            STAY OF SECTION 362(d) OR IN THE ALTERNATIVE ADEQUATE PROTECTION

           COMES NOW Wells Fargo Bank, N.A. and respectfully shows the Court the following:

    1. On May 16, 2019, Timothy Dale Collins fdba Finance Motors, LLC fdba Tad Enterprises, Inc. fdba Storage
Express, LLC (“Debtor”), filed a petition with the Bankruptcy Court for the Western District of North Carolina
under Chapter 7 of Title 11 of the United States Code.

    2. On the date the petition was filed, the Debtor was the owner of real property with an address of 10314
Osprey Dr, Pineville, NC 28134 ("Property") and more particularly described in the Deed of Trust referred to below.

   3. The Deed of Trust secures a Note in favor of Wells Fargo Home Mortgage, Inc., in the original principal
amount of $69,900.00, dated May 12, 2003 ("Note"), a copy of which is attached as "Exhibit 1."

     4. The Property is subject to the first lien of the Movant by the Deed of Trust recorded in the Mecklenburg
County Public Registry, ("Deed of Trust"), a copy of which is attached as "Exhibit 2." Upon information and belief,
said Deed of Trust is in a first priority position.

   5. The Debtor has defaulted in the payment of the mortgage payments. Upon information and belief, the
amount of the default as of June 20, 2019, exclusive of attorney fees and costs, is as follows:

               5 payments at $579.00                                         $2,895.00
               November 1, 2018 To March 1, 2019
               3 payments at $579.74                                         $1,739.22
               April 1, 2019 To June 1, 2019
               Less Suspense                                                 ($0.00)
               TOTAL PAYMENTS DUE                                            $4,634.22

      6.   The payoff good through June 20, 2019 is $53,220.34.

           Upon information and belief, Wells Fargo Home Mortgage, Inc. has a second priority Deed of Trust on the
           Property. The approximate amount of the second lien is $50,000.00. This information was obtained from
           Schedule D.

      7.   The scheduled value of the subject property is $130,000.00. This information was obtained from Schedule
D.

     8. Upon information and belief, the Debtor is surrendering the Property. This information was obtained from
the Statement of Intention.

      9. Because the Debtor has failed to keep the payments current, as required, the property is not necessary for
an effective reorganization, and there is no equity in the property, Wells Fargo Bank, N.A., is entitled to relief from
the Automatic Stay pursuant to Section 362(d)(1) of the Bankruptcy Code for cause shown including, but not limited
to, lack of adequate protection.

           WHEREFORE, Wells Fargo Bank, N.A. prays the Court as follows:

    1. Modify the Automatic Stay of Section 362(a) of the Bankruptcy Code to permit Wells Fargo Bank, N.A. to
enforce its security interest in the real property of the Debtors.
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     2. As an alternative to the relief prayed for above, grant adequate protection to Wells Fargo Bank, N.A. for its
interest in the property of the Debtor(s).

    3. Modify Rule 4001(a)(3) of the Federal Rules of Bankruptcy Procedure so that it is not applicable in this
case and so Wells Fargo Bank, N.A. may immediately enforce and implement this order granting relief from the
automatic stay.

    4.   Grant Wells Fargo Bank, N.A. such other and further relief as may seem just and proper.

    5. The Movant further seeks relief to contact the Debtor by telephone or written correspondence and, at its
option, offer, provide and enter into any potential forbearance agreement, loan modification, refinance agreement or
other loan workout or loss mitigation agreement.


         This the 28th day of June, 2019.

                                                    /s/ Whitney Maxwell
                                                    Whitney Maxwell, Attorney for Creditor, Bar # 42291
                                                    wmaxwell@logs.com |704-831-2233
                                                    Shapiro & Ingle, LLP
                                                    10130 Perimeter Pkwy, Suite 400
                                                    Charlotte, NC 28216
                                                    Phone: 704-333-8107 | Fax: 704-333-8156
                                                    Supervisory Attorney Contact: Grady Ingle
                                                    gingle@logs.com | 704-831-2217
                                                    Electronic Service Notifications: ncbkmail@shapiro-ingle.com
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                        IN THE UNITED STATES BANKRUPTCY COURT
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 IN RE:

 TIMOTHY DALE COLLINS FDBA FINANCE                                         19-30658
 MOTORS, LLC FDBA TAD ENTERPRISES,                                        CHAPTER 7
 INC. FDBA STORAGE EXPRESS, LLC
 DEBTOR(S)

                             NOTICE OF OPPORTUNITY FOR HEARING

        TAKE NOTICE that a motion has been filed by Wells Fargo Bank, N.A. A copy of the motion
 accompanies this notice.

          TAKE FURTHER NOTICE that any response, including objection, to the relief requested in the
 attached motion, should be filed with the Clerk of the Bankruptcy Court within FOURTEEN (14) DAYS
 of the date of this Notice and a copy served on the attorney identified below and upon other parties as
 required by law or Court order. Any response shall clearly identify the specific motion to which the
 response is directed, and it shall comply fully with any Local Bankruptcy Rules applicable.

         TAKE FURTHER NOTICE that no hearing will be held on this motion or application unless a
 response is timely filed and served, in which case, the Court will hear the motion as follows:

                      LOCATION                                             DATE AND TIME
                 US Court House-1st floor
                                                                            July 29, 2019 at
                  401 West Trade Street
                                                                                 9:30 A.M.
                   Charlotte, NC 28202

          This the 28th day of June, 2019.

                                              /s/ Whitney Maxwell
                                              Whitney Maxwell, Attorney for Creditor, Bar # 42291
                                              wmaxwell@logs.com |704-831-2233
                                              Shapiro & Ingle, LLP
                                              10130 Perimeter Pkwy, Suite 400
                                              Charlotte, NC 28216
                                              Phone: 704-333-8107 | Fax: 704-333-8156
                                              Supervisory Attorney Contact: Grady Ingle
                                              gingle@logs.com | 704-831-2217
                                              Electronic Service Notifications: ncbkmail@shapiro-
                                              ingle.com
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                                  CHARLOTTE DIVISION
 IN RE:

 TIMOTHY DALE COLLINS FDBA FINANCE                                              19-30658
 MOTORS, LLC FDBA TAD ENTERPRISES,                                             CHAPTER 7
 INC. FDBA STORAGE EXPRESS, LLC
 DEBTOR(S)

                                       CERTIFICATE OF SERVICE

          I hereby certify that I have this day served the foregoing and annexed pleading or paper upon:

                                           (Served via U.S. Mail)
      Timothy Dale Collins fdba Finance Motors, LLC fdba Tad Enterprises, Inc. fdba Storage Express, LLC
                                         2633 Shenandoah Avenue
                                            Charlotte, NC 28205

                                      (Served via Electronic Notification Only)
                                                  Marcus D. Crow
                                                The Crow Law Firm
                                              315-B North Main Street
                                                 Monroe, NC 28112

                                      (Served via Electronic Notification Only)
                                                 A. Burton Shuford
                                        8301 University Executive Park Drive
                                                      Suite 120
                                                Charlotte, NC 28262

                                   (Served via U.S. Electronic Notification Only)
                                                  Shelley K. Abel
                                             Bankruptcy Administrator
                                          402 W. Trade Street, Room 200
                                               Charlotte, NC 28202

 by depositing the same in a postpaid wrapper properly addressed to each such party or his attorney of
 record in a post office or other official depository under the exclusive care and custody of the United States
 Postal Service and/or by electronic mail, if applicable.

          This the 28th day of June, 2019.
                                                 /s/ Whitney Maxwell
                                                 Whitney Maxwell, Attorney for Creditor, Bar # 42291
                                                 wmaxwell@logs.com |704-831-2233
                                                 Shapiro & Ingle, LLP
                                                 10130 Perimeter Pkwy, Suite 400
                                                 Charlotte, NC 28216
                                                 Phone: 704-333-8107 | Fax: 704-333-8156
                                                 Supervisory Attorney Contact: Grady Ingle
                                                 gingle@logs.com | 704-831-2217
                                                 Electronic Service Notifications: ncbkmail@shapiro-
                                                 ingle.com
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                         Case
                      Debtor   19-30658
                             name: TIMOTHYDoc 12 Filed
                                           D COLLINS Bk06/28/19
                                                       Filing Date: Entered
                                                                    5/16/201906/28/19  12:56:39PmtDueDate/Amt:
                                                                               First Contractual Desc Main 11/1/2018 / $579.00
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                   Classified            Transacti                                                               Classified
                   Payment      Date        on        Date      Amount     Amount    Escrow  Amount                Total    Debtor
                    Amount     Funds      Amount     Funds     Applied to Applied to Applied Paid to Optional     Amount Suspense
          Due Date    Due     Received   Received    Applied   Principal Interest Disbursed   Fees   Insurance    Applied   Balance
                                                                                                                            $0.00
          11/1/2018   $579.00
          12/1/2018   $579.00
          1/1/2019    $579.00
          2/1/2019    $579.00
          3/1/2019    $579.00
          4/1/2019    $579.74
          5/1/2019    $579.74
          6/1/2019    $579.74
 Totals               $4,634.22




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